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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

TRUE THE VOTE, INC.,

                                                 Plaintiff,

   v.                                                         Civ. No. 13-cv-00734-RBW

INTERNAL REVENUE SERVICE, et al.,


                                              Defendants.

                   DECLARATION OF CATHERINE ENGELBRECHT
          I, Catherine Engelbrecht, make the following declarations pursuant to 28 U.S.C. § 1746

in support of Plaintiff True the Vote’s request for declaratory and injunctive relief in this matter:

          1.       I am the founder of Plaintiff True the Vote, Inc., a tax-exempt organization

organized under Section 501(c)(3) of the Internal Revenue Code.

          2.       I am also the founder of King Street Patriots, a non-profit organization organized

under Section 501(c)(4) of the Internal Revenue Code.

          3.       In June 2010, King Street Patriots applied to the Internal Revenue Service (“IRS”)

for recognition as a tax-exempt organization under Section 501(c)(4) of the Internal Revenue

Code. King Street Patriots was designed to be a grassroots organization that serves as a hub for

liberty-minded residents of the Houston, Texas area. My goal in founding King Street Patriots

was to create a place where residents could gather and educate themselves on the core tenets of

civics.

          4.       Shortly thereafter, on July 15, 2010, True the Vote applied to the IRS for

recognition as a tax-exempt organization under Section 501(c)(3) of the Internal Revenue Code.




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As stated in the application, True the Vote’s mission is to promote and improve the integrity of

the voting process in the United States. Its primary activity is to observe and promote better

compliance with election laws and procedures through citizen participation. True the Vote seeks

to educate the public about election law compliance and procedures. True the Vote works with

any person or organization who shares its mission of supporting and promoting free and fair

elections.

        5.         For seven months, I heard nothing from the IRS regarding the applications filed

by True the Vote and King Street Patriots.

        6.         Beginning in December 2010, my non-profit organizations, my family business,

and I were subjected to repeated visits, audits, and investigations by three different federal

agencies, as well as the IRS.

        7.         In December 2010, Houston-based agents from the Federal Bureau of

Investigation’s Domestic Terrorism Task Force appeared at my nonprofit offices seeking access

to meeting attendee manifests and asking broad questions about my organizations’ principles.

FBI agents contacted my organizations five subsequent times, between December 2010 and

December 2011.

        8.         In January 2011, the IRS notified my family business, Engelbrecht Enterprises,

had been selected for an audit for the 2008 and 2009 tax years.1 Although we had been in

business for over a decade at that point, this was our first federal audit.

        9.         In June 2011, my husband and I were personally selected for a tax audit for the

2008 and 2009 tax years.




1
 IRS Confirmation of Audit Appointment for Engelbrecht Enterprises (1/21/2011),
https://www.scribd.com/doc/147846234/1-21-11-IRS-Engelbrecht-Ent?secret_password=1yhhzb97v09cfgu7c3h3


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        10.        In February 2011, True the Vote received a letter from the IRS Exempt

Organizations Division (“EOD”) requesting additional information about True the Vote.2 The

requested information was provided to the IRS by March 8, 2011, as requested.

        11.        In February 2012, the EOD served True the Vote3 and King Street Patriots4 2012

with new letters requesting additional information in response to their respective applications.

The tailored questions were even more burdensome and intrusive than the February 2011

questions. In the case of True the Vote, the letter contained roughly 105 inquiries. This was the

first round of tailored questions for the King Street Patriots since filing its initial application.

Though I would not discover it for more than a year later, other 501(c) applicants were being

questioned about their potential involvement with my nonprofit entities.5

        12.        In February 2012, a business in which I held a commercial interest maintained,

and had maintained for a number of years, a license issued by the Bureau of Alcohol, Tobacco,

Firearms & Explosives (“BATFE”). For the first time, in February 2012, BATFE agents visited

my business entity to conduct an unscheduled audit. BATFE cited only minor paperwork

infractions and requested updated signatures on forms.6 Nevertheless, BATFE agents again

visited my business in April 2013 to conduct another audit.

        13.        From July to October 2012, a separate business interest of mine, Engelbrecht

Manufacturing, Inc. (SIC: 3599), was subjected to an unscheduled site inspection by the
2
  IRS Request for More Information: True the Vote (2/15/2011), https://www.scribd.com/doc/154763155/03-07-11-
Response-to-IRS-Letter-Dated-Feb-15-2011-1?secret_password=ur7h6ryxhdsq03plhrb; Dkt. #14-3.
3
  IRS Request for More Information: True the Vote (2/8/2012), https://www.scribd.com/doc/141470874/IRS-Letter-
for-True-the-Vote-Requesting-Further-Information-2-8-2012; Dkt. #14-4.
4
  IRS Request for More Information: King Street Patriots (2/8/2012), https://www.scribd.com/doc/154822593/2-8-
2012-IRS-Request-for-More-Information-KSP?secret_password=holvv50y0xwyytwe90e
5
  IRS Request for More Information: North East Tarrant Tea Party (2/8/2012),
https://www.scribd.com/doc/149903935/IRS-Letter-Feb-2012-Tarrant-
County?secret_password=5k2rakqrprfa0g304qs see also, IRS Request for More Information: Clear Lake Tea Party
(7/12/2010), https://www.scribd.com/doc/149903936/7-12-13-Clear-Lake-TP-Re-
KSP?secret_password=2290suorcchjmino1l0n
6
  BATFE case file: Engelbrecht Enterprises (Feb. 2012),
http://www.mediafire.com/view/s88gv6dgrl10cfq/DOJ+FOIA.pdf


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Occupational Safety and Health Administration (“OSHA”) (Inspection Number 525458). Until

the 2012 site visit, neither OSHA nor any other office of the U.S. Department of Labor had

contacted the business since its founding roughly fifteen years prior.

        14.        In October 2012, EOD served a third round of questioning on True the Vote.7

Many of the questions were dedicated to asking the political leanings of those the organization

trained to serve as election observers by True the Vote in advance of the November 2012 general

election.

        15.        In August 2013, EOD served a second round of questioning on King Street

Patriots.8 The organization later was granted 501(c)(4) status in December 2013.9

        16.        On September 26, 2013, as a result of this litigation, the IRS granted True the

Vote’s application for tax-exempt status.10

        17.        Since the founding of my non-profit organizations, three sitting Members of

Congress have disparaged and defamed me before other federal offices and the news media,

usually without attempting to contact my organizations first.

        18.        On October 28, 2010, U.S. Representative Sheila Jackson Lee (D-Texas), who

then represented the congressional district in which True the Vote is located, wrote to the United

States Attorney General’s Office seeking an investigation into unfounded allegations of voter




7
  IRS Request for More Information: True the Vote (10/9/2012), https://www.scribd.com/doc/197042789/Exhibit-E-
Request-for-Information-3 ; Dkt. #14-5.
8
  IRS Request for More Information: King Street Patriots (8/21/2013), https://www.scribd.com/doc/162532596/IRS-
Letter-to-King-Street-Patriots-Requesting-Additional-Information-Received-8-21-
2013?secret_password=ak99d5u8zyn7nayu3fc
9
  IRS 501(c) designation letter for the King Street Patriots (12/11/2013),
https://www.scribd.com/doc/191856344/12-11-2013-Letter-of-Determination-of-c4-Status
10
   USDOJ/IRS letter to True the Vote for 501(c)(3) designation (9/26/2013),
https://www.scribd.com/doc/171234645/9-26-2013-IRS-501-c-3-Determination-Letter-for-True-the-Vote?2=0


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intimidation.11 No effort was ever made on the part of Rep. Jackson Lee’s office to communicate

with my organizations before she wrote to the DOJ.

        19.        In 2012, U.S. Senator Barbara Boxer (D-California) publicly promoted a letter

written to the Civil Rights Division of the U.S. Department of Justice on September 27, 2012.12

The letter attempted to confirm that an investigation by the Division was underway into True the

Vote’s work, citing thinly-sourced claims from a Los Angeles Times article.

        20.        The third Member of Congress, U.S. Representative Elijah Cummings (D-

Maryland), sent the news media letters to True the Vote claiming that the House Oversight and

Government Reform Committee had begun a formal investigation into my affairs. Six such

letters were exchanged between True the Vote and Rep. Cummings between October 2012 and

January 2013.13 The letters echoed Sen. Boxer’s assertions and referenced various documents

demanded from True the Vote. In response to these document demands, True the Vote offered to

meet and review materials in person. No such meetings were ever scheduled. On February 6,

2014, True the Vote filed a formal complaint with the U.S. House of Representatives Office of

Congressional Ethics, generally over concerns that Rep. Cummings and/or his staff may be or


11
   Houston Chronicle; In letter to Holder, Jackson Lee opposes True the Vote’s request for IRS tax-exempt status –
5/21/2013 (http://blog.chron.com/txpotomac/2013/05/in-letter-to-holder-jackson-lee-blocked-true-the-votes-request-
for-irs-tax-exempt-status/)
12
   U.S. Senator Barbara Boxer; Boxer Calls on Department of Justice to Protect Americans from Voter Intimidation
– 9/27/2012 (http://www.boxer.senate.gov/press/release/boxer-calls-on-department-of-justice-to-protect-americans-
from-voter-intimidation/)
13
    Rep. Elijah Cummings record of correspondence:
1st Cummings letter to TTV, 10/4/2012 http://www.scribd.com/doc/110033576/2012-10-04-EEC-to-Engelbrecht-
TrueTheVote
TTV Response to 1st Cummings letter, 10/5/2012 http://www.scribd.com/doc/109125685/2012-October-5-TTV-
Cummings-Letter
2nd Cummings letter to TTV, 10/18/2012 http://www.scribd.com/doc/110448892/2012-10-18-cummings-to-ttv
TTV Response to 2nd Cummings letter, 10/29/2012 http://www.scribd.com/doc/111492227/Cummings-29-October-
Letter
3rd Letter to TTV, 12/20/2012 http://www.scribd.com/doc/144911644/2012-20-12-EEC-to-
TTV?secret_password=84s6h5wqjbncgutkvh4
TTV Response to 3rd Letter, 1/4/2013 http://www.scribd.com/doc/144912427/2013-January-4-TTV-Cummings-
Meeting?secret_password=r85dis6ga3l4rpin46k


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have been communicating with other federal agencies about my interests.14 Roughly two months

later, the House Oversight and Government Reforms Committee announced the existence of an

email trail created by Rep. Cummings to Defendant Lois Lerner’s office seeking information

regarding True the Vote in January 2013.15

        21.        In the spring of 2013, following the second visit from BATFE, and nearly three

years after True the Vote filed its application for tax-exempt status with the IRS, I instructed my

research staff to send Freedom of Information Act (“FOIA”) requests to various government

agencies to learn why they were targeting me and my non-profit organizations.

        22.        The recipient agencies of True the Vote’s FOIA requests have withheld

documents that would allow me and True the Vote to learn the circumstances surrounding the

targeting of me, my non-profit organizations, and my businesses by the IRS and other federal

agencies.

        23.        In May 2013, both the King Street Patriots16 and U.S. Representative Ted Poe (D-

Texas)17 filed FOIA requests seeking available records pertaining to the dates when the FBI

agents made contact. Disclosure officers later returned a response stating that only two pages of

the King Street Patriots’ seventeen-page file would be released due to criminal investigation

exemptions.18 The two documents that were produced were heavily redacted. These documents

contained a single date—June 1, 2011—and described two case IDs: #266O-HO-C68269-542


14
   Complaint Against Rep. Elijah Cummings (D-MD) and Request for Investigation by Office of Congressional
Ethics (2/6/2014), https://www.scribd.com/doc/208347055/2-6-14-OCE-Complaint
15
   U.S. House Committee on Oversight and Government Reform; New IRS E-Mails: Lois Lerner Funneled Elijah
Cummings Info on Targeted Conservative Group (4/9/2014), http://oversight.house.gov/release/new-irs-e-mails-
lois-lerner-funneled-elijah-cummings-info-targeted-conservative-group/
16
   King Street Patriots FOIA letter to FBI (5/10/2013), https://www.scribd.com/doc/147843027/5-10-13-FBI-
FOIA?secret_password=l8md5w73s0sr6mf91ho
17
   U.S. Rep. Ted Poe (Texas) FOIA letter to FBI (5/3/2013), https://www.scribd.com/doc/147842909/5-3-13-FOIA-
FBI-Engelbrecht?secret_password=1lanzcdtao9tmw2mx304
18
   FBI FOI/PA response letter to King Street Patriots (7/2/2013), https://www.scribd.com/doc/154159374/7-2-13-
FBI-FOIA-KSP-Denial?secret_password=zfzjmer36n2rmo9pu42


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“STATISTICAL ACCOMPLISHMENT/LIAISON; and #319X-HQ-A1487718-HO

COMMUNITY OUTREACH. These case reports lead the reader to believe that first contact had

been established that day in June, contrary to records indicating it began in December 2010.

        24.        Only as a result of pressure from the U.S. House Oversight and Government

Reform Committee19 did the FBI turn over additional documents regarding the King Street

Patriots. The FBI disclosed that it made contact with the King Street Patriots to verify whether an

individual of interest attended a meeting. However, no other dates or points of contact were

confirmed.20

        25.        In May 2013, both Engelbrecht Manufacturing and Rep. Poe filed FOIA requests

with OSHA seeking records related to the agency’s site inspection of my company’s premises.

The letters included requests for “documents related to the instigation and source(s) of any

complaint(s) generated or filed” to inspire the inspection. No such instigating documents were

provided in response.

        26.        After I made public the government’s targeting of me and my businesses, a

Madison, Wisconsin-based reporter managed to get a Department of Labor spokesperson to

claim on record that my company had been selected as “as part of an OSHA initiative to inspect

fabricated metal products manufacturers” in Texas and other southern states. My research team

then discovered an ongoing OSHA Emphasis Program for Safety & Health Hazards in the

Manufacture of Fabricated Metal Products for all Group 34 manufacturers in Texas. However,




19
   U.S. House Oversight and Government Reform Committee letter to FBI (12/2/2013),
https://www.scribd.com/doc/188966826/2013-12-02-DEI-Jordan-to-Comey-Re-FBI-Comparison-Ltr-Due-12-16-13
20
   The Washington Times; JUSTICE: Feds pick Obama supporter to lead probe into IRS tea party targeting
(1/8/2014), http://www.washingtontimes.com/news/2014/jan/8/feds-pick-obama-supporter-lead-irs-tea-party-
probe/?page=all; see also FBI letter to HCOGR (12/31/2013), https://www.scribd.com/doc/255237277/DOJ-letter-
to-HCOGR-12-31-2013


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my company is categorized as a Group 35 entity. An additional FOIA request confirmed that no

such Emphasis Program existed for Group 35 companies in Texas at that time.

        27.        FOIA requests submitted to BATFE returned only case files directly pertaining to

the site inspections noted above.21

        28.        Following the admission on the part of the Treasury Inspector General for Tax

Administration (“TIGTA”) that approximately 30,000 emails belonging to defendant Lois Lerner

had been recovered by investigators,22 True the Vote submitted a FOIA request to TIGTA

seeking, among other documents, the following: a manifest of all email metadata recovered;

complete copies of all recovered email correspondence; and a list of shared calendar files

between all users of IRS and White House email domains.23 TIGTA withheld nearly all

requested records, citing exemptions for ongoing law enforcement proceedings.24

        29.        In 2015, True the Vote submitted additional FOIA requests to the FBI, BATFE,

DOJ, DOJ Criminal Division (Public Integrity Section), DOJ Civil Rights Division, and OSHA.

Records sought included any documents regarding my non-profits and commercial entities

shared between the aforementioned federal offices and the IRS. Third party communications

(i.e., Members of Congress, other NGOs, etc.) between these offices and the IRS were requested

as well.


21
   U.S. Rep. Ted Poe (Texas) FOIA letter to BATFE (5/3/2013), https://www.scribd.com/doc/147842754/5-3-13-
FOIA-ATF-Engelbrecht?secret_password=1bdk2j31sn1j9tpctl8g
Engelbrecht Manufacturing, Inc. FOIA letter to BATFE (5/10/2013), https://www.scribd.com/doc/147843269/5-10-
13-OSHA-FOIA?secret_password=22751ofc8l8jlou9oksb
22
   Washington Examiner; 30,000 missing emails from IRS’ Lerner recovered (11/22/2014),
http://www.washingtonexaminer.com/30000-missing-emails-from-irs-lerner-recovered/article/2556522
23
   True the Vote FOIA letter to TIGTA (12/2/2014), https://www.scribd.com/doc/255242599/2014-12-2-IRS-
Emails-FOIA-Letter
24
   TIGTA FOIA response letter (12/22/2014), Page 1: https://www.scribd.com/doc/255242872/Dept-of-Treasury-12-
23-14-P1
Page 2: https://www.scribd.com/doc/255242967/Dept-of-Treasury-12-23-14-
P2?secret_password=66ItKWX57014nfdJvGq7
Page 3: https://www.scribd.com/doc/255242990/Dept-of-Treasury-12-23-14-
P3?secret_password=NkQEDUBKNpHHipkxzZet


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        30.        The request to the DOJ was transferred to the DOJ’s Civil Rights Division, which

estimated a delivery expense of $11,400 to produce the requested records.

        31.        The FBI withheld all responsive documents, citing an exemption for law

enforcement investigations.

        32.        The DOJ Criminal Division and the DOJ Civil Rights Division have

acknowledged receipt of True the Vote’s FOIA requests but have not produced documents.

        33.        In 2015, True the Vote submitted additional FOIA requests to TIGTA concerning

Lois Lerner’s recovered emails. One of these requests was denied due to untimeliness. The other

request was referred to the IRS, which claimed there were no responsive documents, leaving

True the Vote with no other recourse to obtain the information outside of litigation.

        34.        In 2015, True the Vote sought assistance from the U.S. Senate Committee on

Finance to obtain access to IRS files directly related to True the Vote and its officers.

        35.        In February 2016, the Department of Labor produced responsive documents.

However, the vast majority of those records related to OSHA’s inspection. No records revealed

why my business was selected for audit.




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        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on January 18, 2017.



                                                             Catherine Engelbrecht




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